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_ ' `__ __ (Netice cf sp ellate Acticn]
Netice cf Filing UNITED STATES DISTRICT COURT District Ccurt Nc.:
= Cress eppeal _ fer the _
. Interlaeutary appeal WES"B*'" ursrsrcr cr NC l 3'05'°“'306
sdditienal NOA at
l Charl{]tte
smended HOA Captien: 4CCA Ne. :Cl-“".)"?z{:j8
\/ Transmittal cf Recerd l l
Transmittal cf Certif. Wayne Porter V- USA Censelidated with He.:

 

 

*Supplement te ROA
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other Supp w ROA

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Part I
thice cf appeal is enclesed tc all parties {except tc appellant in civil cases); NOA

decket entries, district ceurt epinien and crder, and magistrate judge s recemmendaticn {if
applicable) are enclcsed tc 4CCA.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l. NOA filed: 4. Fees
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-$5 filing fee: paid unpaid
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' ” '_ ”“ ”_‘ ”“__"13250 dccket fee: paid _ unpaid
2. smended NOA filed: . _ ' _
Pauper status: granted denied 'pending in dist.ct.
lDees PLRA Apply? Yes *Ne 3- -strikes? _Yes Hi_T~'!e
[If PLRA applies, 4CCA sends fcrms & acts en _applicaticn]
3. District Judge: 5. Materials Under Seal in District Ccurt: Yes Nc
H|Cnard Voorhees Party I~Iames Under Seal in District Ceurt: res Ne
'r - ` _ _'
6. Official Ct. Repcrter{s}: ?. Transcript
1 l In~Ceurt Hearing Held: Yes Nc
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l_ |B. Criminal/Priscner Cases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

recalcitrant witness Defendant*s eddress:
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Part II TRANSMITTAL OF RECORD TO COURT OF_RPPEALS
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|Pleadings: Vels. ` Pleadings: Uels.l+'
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